                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                No. 5:16-cv-249-FL
____________________________________
                                      )
MATTHEW BRADLEY,                      )      DECLARATION OF
                                      )      MATTHEW BRADLEY
      Plaintiff,                      )
v.                                    )
                                      )
ANALYTICAL GRAMMAR, INC.,             )
                                      )
      Defendant.                      )
____________________________________)

       I, Matthew Bradley, declare as follows under penalty of perjury, based on the best of my

personal knowledge and/or good faith belief.

       1.         I am the plaintiff in this action against defendant Analytical Grammar, Inc.

(“Analytical”).

       2.         I work as a freelance technological consultant. I have an undergraduate degree from

Cornell majoring in physics, and a master’s degree in electrical engineering from Penn State

University. I am not, however, a lawyer and I am not sophisticated or experienced in legal matters.

       3.         I have been asked to provide a declaration concerning the initiation of this lawsuit

and certain of my dealings with Mr. Richard Liebowitz (“Mr. Liebowitz”), my former attorney

who was disqualified by this Court, and I have and agreed to do so without the necessity of a

subpoena or deposition. Opposing counsel has agreed that my recitation of these limited facts does

not waive and will not be construed to waive attorney-client privilege, work product privilege, or

any other privilege with respect to anything not disclosed herein and my declaration is provided in

reliance on that assurance.

       4.         On December 8, 2017, I created a photograph that depicts the word “wrong”


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handwritten on blue scotch tape and attached to several carpentry levels. That same day, I posted

the photograph on my Facebook account with the caption, “This is wrong on so many levels.”

       5.      I understood and still believe that I was and am the copyright owner of the

photograph, which was created solely by me and taken solely by me, embodying multiple creative

elements both in composing the photograph and in creating the caption.

       6.      When I discovered that persons whom I had not authorized to use the photo were

using it for their own commercial benefit, I sought counsel. I became aware of Liebowitz Law

Firm and its publicity concerning the manner in which it would represent photographers whose

copyrights had been infringed, as they described on their website.

       7.      I retained Liebowitz Law Firm (“Firm”) on or about December 24, 2018 to enforce

my copyrights in my “Wrong on So Many Levels” photograph. A copy of my retainer agreement

with the Firm is attached as Exhibit A to this declaration.

       8.      On June 10, 2019, the Firm informed me that Analytical had posted my “Wrong on

So Many Levels” photograph on its Facebook page and asked my approval to pursue the case, by

sending the following notice to me:

               The following case has been added by Liebowitz Law Firm, PLLC for your review. Please
               click Approve if you would like for us to pursue this case. Please click Disapprove if you
               have licensed this image or gave permission to this company. Giving us permission to
               pursue these potential infringements, however, does not guarantee that we will pursue
               them. The decision to pursue these potential claims rests with our attorneys, subject to
               their analysis and approval.

               Thank you, Research Analyst Dept.


               Infringer: Analytical Grammar, Inc.
               Infringer URL: https://www.facebook.com/analyticalgrammar/posts/this-is-wrong-on-so-
               many-levels/10154982827941891/
               Infringer Image: Link to Image

I clicked the “Approve” link and on June 11, 2019, was informed by Mr. Liebowitz that “Your

case against Analytical Grammar will be filed in Court in North Carolina this week. We should

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hear from their lawyers soon. I will keep you posted.” As I later learned, the complaint in this

action was filed on June 18, 2019, raising a claim of copyright infringement and a claim of

removal of copyright management information. I was not provided any copy of the complaint

for review prior to its filing.

        9.      Mr. Liebowitz, the Firm’s founder and manager, told me at the outset of the case

that it was “a slam dunk.”

        10.     At no time before the complaint was filed did Mr. Liebowitz or anyone at the Firm

discuss with me, or mention to me, any potential defense to either of the claims.

        11.     My retainer agreement with the Firm stated, “The Copyright Act includes a

provision in which attorney’s fees may be awarded to prevailing plaintiffs.” The agreement does

not indicate that that provision of the Copyright Act also authorizes awarding attorney’s fees to

prevailing defendants. At no time did Mr. Liebowitz or anyone at the Firm advise me of the risk

that I might be required to pay Analytical’s attorneys’ fees under the Copyright Act. Instead, the

retainer agreement with the Firm stated, “Aside from the Contingency Fee (described below in

paragraph 2), You will not be billed for the preparation and/or litigation of Your case.” It also

promised that “LLF shall keep You informed of the status of your matter, and agree to explain the

laws pertinent to your situation, the available course(s) of action, and the attendant risks.” I was

never informed of any “attendant risks” in the nature of potential awards of costs or fees that could

be imposed against me, until after the Court entered summary judgment dismissing both of my

claims. I at all times believed, as I was told in the Agreement, that I would never be charged any

money arising from the lawsuit because all costs associated with litigation would be borne by the

Firm and reimbursed, if at all, only from any damage award I might receive.

        12.     A representative of Analytical, Erin Karl, sent an email to Mr. Liebowitz on August


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16, 2019 that included an offer “to settle this matter by making a $500 payment.” The email further

identified what Analytical would go on to raise as defenses to both claims: that “sharing [the

photograph] on Facebook was permitted,” and that Analytical “didn’t remove or alter any

copyright management information. Nothing identified Mr. Bradley as the photographer when we

came across the photo.” The email was sent with an attachment captioned “Offer of Judgment”

that offered to allow entry of judgment against Analytical for $500. The “Offer of Judgment” stated,

“To accept this offer, Plaintiff must serve written notice of acceptance within 14 days, or the offer

shall be deemed withdrawn in accordance with Federal Rule of Civil Procedure 68(b).” The “Offer

of Judgment” also stated, “If Plaintiff does not accept this offer he may become obligated to pay

the costs and attorney’s fees that Defendant incurs after making this offer.”

       13.     I understand that the self-styled “Offer of Judgment” may not be valid as a formal

offer of judgment, among other reasons because it was sent by a non-attorney who wasn’t

authorized to represent Analytical Grammar in the lawsuit. Nonetheless, it is evident that the offer

was, at the least, an offer of settlement. I had understood and believed that I would be consulted

regarding any settlement offer, especially since my agreement with the Firm included a

requirement that “Client agrees seriously to consider any settlement offer that Attorneys

recommend before making a decision to accept or reject such an offer.”

       14.     It is now my understanding that Analytical’s representative, Erin Karl, repeated the

settlement offer (including the self-styled “Offer of Judgment”) by a follow-up email to Mr.

Liebowitz on August 19, 2019, and that Analytical’s counsel also requested to engage in settlement

discussions, with a reminder of the initial “Offer of Judgment,” in email correspondence from

Analytical’s counsel to Mr. Liebowitz and local counsel on August 20, 2019.

       15.     It is also now my understanding that on August 21, 2019 Analytical’s counsel


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(Mr. Dan Booth) proposed to engage in settlement discussions with Mr. Liebowitz before

Analytical answered the complaint, and that Seth Hudson, who was then the Firm’s local counsel,

asked Mr. Liebowitz to contact Analytical’s counsel to discuss settlement.

       16.    Mr. Liebowitz did not inform me of the August 16, 2019 email and follow-up

August 19, 2019 email, each with the “Offer of Judgment”/settlement offer, within 14 days of the

date they were sent and received by him, or even within 30 days. Neither was I informed of the

other settlement requests that were transmitted by or on behalf of Analytical Grammar in August

and September 2019. To be clear:

                  a. I first learned about the so-called “Offer of Judgment” on or about

                      December 11, 2019, the day before my deposition in this action. On

                      December 11, 2019, Mr. Liebowitz sent me a copy of the Offer of Judgment,

                      which I had not previously seen, by email. On December 12, 2019, the

                      morning of my deposition, Mr. Liebowitz again emailed me about the

                      “Offer of Judgment,” telling me, “Please make sure you read this.”

                  b. I first saw and learned about the other aspects of the original (August 16

                      and 19, 2019) settlement offers only after I was provided a copy of emails

                      from Analytical Grammar’s representative (Erin Karl) to Mr. Liebowitz

                      following the Court’s order disqualifying Mr. Liebowitz from representing

                      me, when my current counsel, Ms. Olive, sought and received copies of the

                      Firm’s files and shared those files with me.

                  c. I first learned of Mr. Booth’s follow-up emails asking to discuss potential

                      settlement only after I was provided a copy of Mr. Booth’s emails to Mr.

                      Liebowitz following the Court’s order disqualifying Mr. Liebowitz from


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                      representing me, when my current counsel, Ms. Olive, sought and received

                      copies of the Firm’s files and shared those files with me.

       17.     Late in the evening on August 18, 2019, I received an email from Mr. Liebowitz.

He did not disclose the settlement offer. Instead, he said: “Hope you are well. Analystical

Grammer [sic] defaulted on the case which means they did not respond back to the complaint. The

judge is going to decide the amount of money within the next 5 months. I will keep you posted.”

       18.     Analytical filed its answer and counterclaims on September 13, 2019. I was not

informed of this filing by Mr. Liebowitz. Instead, I learned about the filing online, on or about

September 15, 2019, after looking around following receipt of certain comments on my Facebook

page. I was surprised to find that an answer had been filed, since I had been told that Analytical

had defaulted. I had thought the lawsuit was essentially over with.

       19.     After finding out about the counterclaims, I emailed Mr. Liebowitz that evening,

sending the answer and counterclaims to him and saying, “I'm no lawyer, but it seems they are

severely misinformed about DRM and do not understand the difference between sharing and

stealing.” Mr. Liebowitz did not explain the meaning of the counterclaims to me or provide any

assessment of them to me. Instead, he simply responded: “Yes, this lawyer is trying to get some

PR from this, we will take it all the way to judgment.” He gave me no indication that Analytical’s

defenses or counterclaims had any potential validity whatsoever.

       20.     It is now my understanding that Mr. Liebowitz offered to settle the action for $5,500

on September 17, 2019, saying in an email to counsel for Analytical that he had been “authorized”

to make that offer; and it also is now my understanding that Analytical rejected the offer the next

day. Neither Mr. Liebowitz nor anyone at the Firm informed me about that offer, either beforehand

or after it was rejected. I was not asked to “authorize” it and could hardly have done so without


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knowing of it, although I had generally agreed—as set out in the first paragraph of my agreement

with the Firm—that the Firm could take any steps that were necessary or appropriate to protect my

interests. I learned of the $5,500 settlement offer tendered by Mr. Liebowitz only after Mr.

Liebowitz had been disqualified by the Court and I had obtained successor counsel, who obtained

and provided to me a copy of the Firm’s files reflecting the offer.

        21.     It is now my understanding that Mr. Liebowitz filed an answer to Analytical’s

counterclaims on October 4, 2019. At no time before filing the answer to the counterclaims did

Mr. Liebowitz or anyone at the Firm confer with me about which of the allegations in the

counterclaims should be admitted or denied. At no time before Mr. Liebowitz filed that answer did

he or anyone at the Firm discuss with me, or mention to me, any potential defense to either of our

claims, or the merits of the counterclaims.

        22.     On October 7, 2019, by email, after I had asked for an estimate of the range of

damages we might recover, Mr. Liebowitz estimated that the value of the case was in the $1,000

to $5,000 range and told me, “It looks like they’re going to fight.” He did not disclose that an

earlier settlement offer he had made to Analytical’s counsel’s had been rejected, mention the risk

that I could be held liable for Analytical’s attorneys’ fees or costs, or mention that I could run other

financial risks associated with proceeding.

        23.     It is now my understanding that Mr. Liebowitz offered to settle the action for $500

on October 8, 2019, by sending to opposing counsel an email that said: “Hi Dan, We can resolve

for $500. Let me know. Thanks”. Neither Mr. Liebowitz nor anyone at the Firm informed me about

that offer before it was made, or sought my consent or specific authorization for that offer. Further

it is my understanding that the offer was rejected by return email, another fact of which I was not

timely informed.


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        24.     It is now my understanding that the Court entered an Order on October 10, 2019,

discussing sanctions that had been imposed on Mr. Liebowitz in other actions and telling him “to

clean up his act,” and stating that deficiency notices in this action and in Mr. Liebowitz’s other

cases assigned to the same judge were “a harbinger for troubled litigation ahead.” Neither Mr.

Liebowitz nor anyone at the Firm informed me about that Order and the Court’s warning, nor did

local ocunsel provide me with any copy of it. I did not learn of it until I received a copy of the

pleadings in this case from successor counsel following Mr. Liebowitz’s disqualification.

        25.     Mr. Liebowitz did not attend my December 12, 2019 deposition in Raleigh, North

Carolina. It was defended by Albert Allan, who was then the Firm’s local counsel. Neither Mr.

Liebowitz nor the Firm paid my expenses. I paid for the airfare from California out of pocket.

        26.     I have been informed that in the case of Usherson v. Bandshell Artist Management,

Case No. 1:19-cv-06368 (S.D.N.Y.), the judge issued an order concerning the conduct of Mr.

Liebowitz and his firm and required that a copy of that order be served on all of their current clients.

After receiving a copy of the pleadings in my own case following Mr. Liebowitz’s disqualification,

I became aware that Mr. Liebowitz had filed a copy of the Usherson order in this Court on July

27, 2020. To the best of my knowledge and recollection, however, I was not personally served

with any copy of that order at any time, and I can find no copy of it in my files. To the best of my

knowledge and recollection, I first learned that Mr. Liebowitz had been subjected to sanctions in

any case when, on December 2, 2020, the Firm emailed to me a notice that Mr. Liebowitz had

been suspended from practice in the Southern District of New York pending the outcome of

disciplinary proceedings against him. That notice did not identify the case by name and did not

include a copy of the order.

        27.     On March 4, 2021, I was informed by the Firm that the Court had granted


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Analytical’s motion for summary judgment, that the Court had “asked Richard [Mr. Liebowitz] to

show cause as to why he should not be disqualified as [my] counsel,” and that Mr. Liebowitz was

“going to ask the Court to allow him to remain my counsel of record for the limited purpose of

opposinga potential attorneys’ fee motion brought by Defendant.” Although I now understand that

on January 27, 2021, the Court’s clerk ordered Mr. Liebowitz to show cause within 30 days why

should not be suspended from practice in this Court, and he did not respond within 30 days, I was

not told about that aspect of the matter. When I asked the Firm for further details, because I was

confused and had not even known anything was going to be happening in my case at this time, I

was told nothing substantive other than that the Firm would not represent me in any appeal.

       28.     It is now apparent that I made a serious mistake by putting my trust in Mr.

Liebowitz and the Firm. They led me to believe that the only risk I faced in filing suit was that the

recovery might be small. I believed that their contingency-fee agreement meant that I had no

financial risk and that all costs and expenses would be borne by the Firm. They did not advise me

at any point, and I did not know, that this lawsuit had at best a limited potential for recovery

coupled with a not insignificant risk of loss. I was never told that costs could be imposed against

a losing plantiff under any circumstances, still less that attorneys’ fees could at least theoretically

be sought against a plaintiff. Further, I never had the opportunity to review and make a reasoned

decision on the early offers from Analytical’s representative to resolve the case and the early offers

from Analytical’s attorney to negotiate a settlement of the case, either of which could have avoided

the lengthy lawsuit and expenses incurred by all involved. If I had been told about the relevant

facts and risks, I certainly would have considered any potential settlement in light of those facts

and risks. The fact that Ms. Karl had offered on August 16 and August 19, 2019 that Analytical

would settle the case by paying $500, as described in Paragraphs 12-14 above, and the fact that on


                                                                          Bradley Declaration - Page 9

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October 8, 2019, Mr. Liebowitz made an offer to accept a payment of $500 from Analytical in

order to settle the case as described in Paragraph 23 above, suggests that an amount in or around

that sum would not have been an unreasonable early settlement figure that would have been

acceptable to everyone and would have terminated the lawsuit at an early point in time.

        29.     To be clear, this declaration should not in any way be construed to suggest that

costs, or fees, or other monetary awards ought to be imposed against Plaintiff or Plaintiffs fonner

counsel in this case. However, if the Court were to impose such costs, or fees, or other monetary

awards, it would in my opinion be unfair to impose them against me under these circumstances;

and it would be most appropriate to require that they be paid by Mr. Liebowitz and his Finn, thus

fulfilling the expectation they intentionally created when dealing with me that I would have no

risk.



        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge, information and belief.

        Executed this gth day of July, 2021 in Windsor, California.




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                                                        EXHIBIT A
                                                Declaration of Matthew Bradley




                                                           Exhibit
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                                                           Exhibit
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